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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :   19 Crim. 366 (LGS)
                           -against-                           :
                                                               :        ORDER
STEPHEN M. CALK,                                               :
                                             Defendant.        :
------------------------------------------------------------- X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on January 8, 2021, third parties James Brennan, Thomas Horn, Matthew

MacDonald and Javier Ubarri (the “Illinois Witnesses”), filed a motion to quash or modify the trial

subpoenas the Government served on them and requesting oral argument in connection with the

motion. Dkt. No. 145. It is hereby

        ORDERED that by January 19, 2021, the Government shall file any opposition, and

Defendant shall file a response. Each submission shall state whether the party consents to remote

two-way video testimony of the Illinois Witnesses. It is further

        ORDERED that the parties and the Illinois Witnesses shall appear for oral argument on

January 26, 2021, at 2:00 p.m. (EST). The oral argument will be telephonic and will occur on the

following conference line: 888-363-4749, access code: 5583333.


Dated: January 11, 2021
       New York, New York
